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)
v. ] NO. 04-1075 T/Al]
)
SAMANTHA PHILLIPS, et al., )
)
Defendants. )

 

ORDER GRANTING IN PART PLAINTIFF’S MOTION TO COMPEL

 

Before the Court is Plaintiff’s Motion to Compel Discovery filed on March 30, 2005. For
the reasons set forth below, the Motion is GRANTED in part.

Plaintiff served lnterrogatories and Requests for Production of Documents on Defendants
on January 11, 2005. In his motion Plaintiff asks the Court to order Defendants to produce
complete responses to the discovery responses, as Plaintiff states that Defendant Smith and
Defendant Correctional Medical Services, Inc. (“CMS”) responded only in part to Plaintiff’s
requests and that Defendant Phillips failed to respond to the requests. Plaintiff argues the
discovery sought is relevant to the claims and defenses of the case; therefore, Defendants should
be required to produce additional discovery to Plaintiff.

Defendant Sarnantha Phillips responded to the Motion to Compel on April 8, 2005. In
her Response Ms. Phillips stated that she did not receive orders from the Court for some period
of time, and after learning of this problem, she immediately responded to Plaintiff’s discovery

requests. Specifically, Ms. Phillips states she responded to the requests on April 8, 2005.

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Defendants J ames Smith, M.D. and CMS responded to the Motion to Compel on April 13, 2005.
Dr. Smith and CMS claim they sufficiently responded to Plaintiff’s discovery requests and that
Plaintiff is “simply dissatisfied” with their discovery responses These defendants argue they
should not be required to produce additional discovery.

“Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(l). Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(l); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret Whether evidence is relevant. See Oppenheimer Fund, Inc. v. Sanders,
437 U.S. 340, 351 n.12(1978)(qu0ting 4 J. Moore, Federal Practz`ce § 26.96[1], at 26-131 1134
(Zd ed. 1976)). In this Circuit, the scope of discovery is extremely broad under the Federal Rules
of Civil Procedure and “is . . . within the broad discretion of the trial court.” Lewz`s v. ACB
Busz'ness Servs. Inc., 135 F.3d 389, 402 (6th Cir. 1998). The United States Supreme Court has
also noted that discovery should be both broad and liberal. See Schlagenhaufv. Holder, 379 U.S.
104. 114-15 (1964) (citing Hickman v. Taylor, 329 U.S. 495, 507 (1947)).

After due consideration, the Court concludes that Defendants have provided responses to
Plaintiff’s discovery requests; however, the Court nevertheless concludes that Plaintiff’ s Motion
to Compel should be GRANTED in part. To the extent Defendants have not already done so,
Defendants should produce the following to Plaintiff within ll days of entry of this Order.

l. Any and all policies and procedures that relate to providing medical treatment to

inmates at the Northwest Correctional Complex that are relevant to Plaintiff’s claims, including

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Tennessee Department of Corrections policies and any policies implemented by CMS that might
be relevant to Plaintiff’s claims;

2. A copy of the contract between the state of Tennessee and CMS to provide medical
services at Northwest Correctional Complex, plus any amendments or addendums to the
contract; and

3. A complete copy of Plaintiff s medical records for the time period alleged in the
Complaint. If, as Plaintiff alleges, there is a transcribed version of Plaintist medical records,
Defendants shall provide Plaintiff with a copy of the transcribed version. If there is not, then
Defendants shall provide Plaintiff with a copy of the medical records kept in the normal course
Of business

Besides these materials, Defendants are not required to produce additional responses or
documents to Plaintiff. Defendants are reminded that the failure to comply With an Order of the

Court can be grounds for the imposition of sanctions

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S. THOMAS AN`DERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: M`/h? §3,, m

 
       
  

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Honorable .l ames Todd
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